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IN THE EASTERN DISTRIC COURT OF VIRGINIA HT | | i
STATE OF VIRGINIA | 30 2021 IU]
| CLERK, US-DSTRICT COURT
RICHMOND, VA
)
ERICK TIMOTHY GOODALL )
)
Petitioner/Plaintiff, )
)
) NO. _3:21-cv-00333-JAG
Vs. )
)
CITY OF RICHMOND )
Respondent/Defendant )
)

MOTION FOR DISCOVERY
OF INFORMATION NECESSARY TO RECEIVE A FAIR TRIAL

COMES NOW _plantiff “Erick Timothy Goodall” by counsel, and
respectfully moves this Court pursuant to the Sixth, Eighth and Fourteenth Amendments to the United
States Constitution, to require the prosecution to disclose to counsel, and permit them to inspect, copy,
test and photograph the following:

l. All statements, written or oral, made by this defendant to any person, at anytime,
before or after his arrest in this case, including the name and address of the person[s] to whom the
statements[s] was [were] made, including but not limited to those relevant to:

(a) The crime; in reference to state identification number VA954009 and

VA1218788L

(b) The investigation of that crime; and
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(c) Any condition of , including but not limited to his mental
or physical state:
(i) at the time of the alleged crime;
(ii) at the time of any statements of the Defendant
described in paragraphs 1(a) through (c) above;
(iii) at any other time subsequent to the alleged crime.

2. All statements, written or oral, made by any of the co-defendants to any person, at
the time of or subsequent to their arrests in this case, including the name and address of the person{[s] to
whom the statement[s] was [were] made, including but not limited to those relevant to:

(a) The alleged crime;

(b) The investigation of that crime; and

(c) any condition of the defendant including but not limited to his mental

or physical state at the time of the alleged crime, at the time of any of the

statements described in paragraphs 1(a) through (c) above, and at any other

time subsequent to the alleged crime.

3. The names and addresses of all persons the prosecution proposes to offer as
witnesses at the trial or any hearing of this case, and any persons with knowledge of any facts and

circumstances surrounding the crime or

4. The names and addresses of all persons who have given recorded statements to the
prosecution or any law enforcement officer.
5. The names and addresses of all persons who have given oral statements to the

prosecution or any law enforcement officer.
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6. Copies of all written and/or oral statements made by any of the persons referred to
in Jf 3, 4 or 5 above, including memoranda, summaries or recordings of such statements, as well as grand
jury testimony. Furthermore, the State is requested to record the substance of any oral statements made
by any such persons for delivery to the defense, if such statements are not now recorded.

7. All memoranda, documents and reports to, from and between law enforcement
officers connected with the subject matter of this case.

8. All memoranda, documents and reports to, from and between the investigative
staff of the prosecution, exclusion those portions if any, which contain the opinions, theories, or
conclusions of the prosecuting attorney or members of his legal staff.

9. The criminal records and any list or summary reflecting criminal records of all
persons whom the prosecution intends to call as a witness at trial.

10. All evidence in the prosecutor's possession or available to the prosecution which is
favorable to __ the plantiff “Erick Timothy Goodall”___on the issue of guilt, including but not limited to:

(a) Unfavorable evidence with respect to prosecution witnesses;

(b) Unfavorable character evidence respecting the defendant;

(c) Any and all evidence, letters, memoranda or other material of any

nature disclosing bias and/or prejudice or prejudgment by citizens of this

County against , and the identity of the persons making

statements indicating such views;
(d) Any and all other information respecting any prosecution witness

which is favorable to on the issue of guilt;

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(e) Statements made by any persons which are exculpatory with respect to

, including all statements made by prospective prosecution

witnesses.

11. All evidence in the prosecution's possession or available to the prosecution which
is favorable to on the issue of punishment, including but not limited to evidence
disclosing:

(a) has no significant history of prior criminal activity;

(b) the offense was committed while was

under the influence of mental or emotional disturbance;

(c) the victim was a participant in conduct, in

however slight a way;

(d) was an accomplice and his participation was

relatively minor, or less significant than someone else, or that he was
arguably not the person who fired the fatal shot;

(e) acted under some kind of duress or under the

domination of another person;

(f) the capacity of to appreciate the criminality of

his conduct or to conform his conduct to the requirements of law was
impaired in any manner; and

(g) has adapted to prison life;

(h) will not be paroled for a long time on a life

sentence, or will never be paroled;
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(i) any state agent intends to act or is considering acting in any manner to

ensure that spends a long time in prison on a life
sentence;

(j) any state agent, who abused or violated his consti-
tutional rights when was arrested;

(k) that has suffered abuse at any time in his life, at

the hands of family members or anyone else;

(1) in partial or total negation of any evidence offered by the state in
support of any alleged aggravating circumstance; and,

(m) in support of any other possible mitigating factor which

might choose to present to the jury.

12. All physical or documentary evidence, including diagrams, sketches, books,
papers, documents, photographs or tangible objects in the possession of the prosecution that:

(a) were obtained from or belong to ;

(b) the prosecution intends to offer at any trial or hearing of this case;

(c) the prosecution is retaining for potential use in evidence at any trial or hearing
in this case;

(d) any law enforcement official is retaining for potential use in evidence at any
trial or hearing in this case;

(e) the prosecution or any law enforcement official has submitted to any

professional personnel for examination or analysis in connection with this case.
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13. All diagrams, sketches and photographs which have been made by or shown to any
witnesses or prospective witnesses in this case, as well as the identity of each witness to whom this
material was shown.

14. _ All records and reports of every kind reflecting the conduct or results of any
medical, pathological, toxicological, chemical, biochemical, criminalistic, laboratory, forensic or scientific
examinations, investigations and analysis undertaken in connection with the investigation or preparation

of this case.

15. All records and reports relating to , including:

(a) all juvenile detention, jail, prison, parole, probation and presentence
investigation records;
(b) all arrest, conviction, and adult and juvenile criminal offense records;
(c) all records of any law enforcement authority;
(d) all records of any detention or court authority;
(e) the prosecution or any law enforcement official has submitted to any
professional personnel for examination or analysis in connection with this case.
16. All records and reports relating to any witness, including:
(a) all juvenile detention, jail, prison, parole, probation and presentence
investigation records;
(b) all arrest, conviction, and adult and juvenile criminal offense records;
(c) all records of any law enforcement authority;

(d) all records of any detention or court authority;
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(e) all records of any prosecuting authority;

(f) all psychiatric, psychological and mental health records;
(g) all education records;

(h) all records and reports.

17. A statement as to whether the prosecution will rely on prior acts or convictions of
a similar nature for proof of knowledge or intent, including a description of each act or conviction to be
relied upon, if any.

18. A list of all expert witnesses the prosecution intends to call at trial, along with each
expert's qualifications, the subject and a description of his or her contemplated testimony, and his or her
report.

19. A statement as to whether the prosecution will use felony convictions for

impeachment of if he testifies, along with the date of conviction and a description of

each offense, if any.

WHEREFORE, Euck Ler respectfully prays this Court to order the

production of the foregoing materials.

Respectfully submitted,

By: Such Jovole ll tose
LOCILE-Y/71

Goode. tle 3276 @gimail.com

CERTIFICATE OF SERVICE

’ bro Se
I , do hereby certify that I have on this day

Motieo Gor Discoyeyy M/s0f/2oa!

. \ :
delivered, by hand, a true and correct Copy of the foregoing Motion to

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This the day of 20

